                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA                      )       MATTICE/CARTER
                                               )
        v.                                     )       CASE NO. 4:10-CR-28
                                               )
 MICHAEL CANNADY                               )



                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on January 5,

 2011. At the hearing, defendant entered a plea of guilty to the lesser included offense in Count

 One of the Indictment, conspiracy to manufacture, distribute, and possess with the intent to

 distribute five (5) grams or more of methamphetamine (actual) and fifty (50) grams or more of a

 mixture and substance containing a detectable amount of methamphetamine, a Schedule II

 controlled substance, in violation of 21 USC §§ 846 and 841(b)(1)(B), and to Count Three of the

 Indictment, felon in possession of a firearm or ammunition, in violation of 18 U.S.C. § 922(g), in

 exchange for the undertakings made by the government in the written plea agreement. On the

 basis of the record made at the hearing, I find that the defendant is fully capable and competent to

 enter an informed plea; that the plea is made knowingly and with full understanding of each of

 the rights waived by defendant; that it is made voluntarily and free from any force, threats, or

 promises, apart from the promises in the plea agreement; that the defendant understands the

 nature of the charge and penalties provided by law; and that the plea has a sufficient basis in fact.

        I therefore recommend that defendant's plea of guilty to the lesser included offense in

 Count One of the Indictment and to Count Three of the Indictment be accepted, that the Court


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 adjudicate defendant guilty of the charges set forth in the lesser included offense in Count One of

 the Indictment and to Count Three of the Indictment, and that the written plea agreement be

 accepted at the time of sentencing. I further recommend defendant remain in custody pending

 sentencing in this matter. Acceptance of the plea, adjudication of guilt, acceptance of the plea

 agreement, and imposition of sentence are specifically reserved for the district judge.

        The defendant’s sentencing date is scheduled for Monday, April 18, 2011, at 9:00 am.




                                               s/William B. Mitchell Carter
                                               UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than fourteen days after the plea
 hearing. Failure to file objections within fourteen days constitutes a waiver of any further right to
 challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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